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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
                                      )
Santana Hayes on behalf of herself    )
and all persons similarly situated,   )
                                      ) CASE NO.
Plaintiff,                            )
                                      )
    v.                                )
                                      ) JURY TRIAL DEMANDED
Club Wax, LLC. &                      )
Mr. Thomas Waters                     )
                                      )
Defendants.                           )

COMPLAI T FOR VIOLATI G THE FAIR LABOR STA DARDS ACT

      COMES OW Santana Hayes (hereinafter “Plaintiff”), on behalf of

herself and all others similarly situated, and brings this collective action

against Club Wax, LLC. and Mr. Thomas Waters (hereinafter “Defendants”)

respectfully showing the Court as follows:

                              I TRODUCTIO

                                         1.

      Defendants jointly operate an adult entertainment club located in

Fulton County commonly known as Club Wax that failed to pay the Named

Plaintiff and all others similarly situated the minimum wage and substantial

overtime for hours worked. Indeed not only did they fail to pay a single

penny in wages, they tricked the Plaintiff and all others similarly situated


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into paying each of them to work at Club Wax. Defendant’s failure to pay

the minimum wage and overtime wages to Plaintiff and all others similarly

situated violated 29 U.S.C. §§ 206 and 207 of the Fair Labor Standards Act,

29 U.S.C. § 201 et. seq. (“FLSA”) because the Plaintiff and all other

similarly situated employees do not satisfy the requirements of any

applicable exemption under the FLSA.

                                       2.

      There are numerous similarly situated current and former employees

of Defendants who were compensated improperly in violation of the FLSA

and who would benefit from the issuance of a Court Supervised Notice of

the instant lawsuit and the opportunity to join in the present lawsuit. Upon

information and belief there are more than 50 potential Plaintiffs. More

precise information on class size will be obtained during discovery.

                                       3.

      Former and current similarly situated employees are known to

Defendants, are readily identifiable by Defendants, and can be located

through Defendant’s records.

                                       4.

      Therefore, Named Plaintiff should be permitted to bring this action as

a collective action for and on behalf of themselves and those current and


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former employees of Defendants that worked at any club similarly situated,

pursuant to the “opt-in” provisions of the FLSA, 29 U.S.C. § 216(b).

                                         5.

      As a result of Defendants violation of the FLSA, Plaintiff and all

others similarly situated seek minimum and overtime wages, restitution of

all fees, fines and other payments Plaintiff were required to pay to

Defendants to work,     liquidated damages, interest, and attorneys’ fees and

costs pursuant to 29 U.S.C. § 216 for the period commencing three (3) years

prior to the filing of this Complaint.

                         PARTIES A D SERVICE

                                         6.

      Plaintiff Santana Hayes is a former employee of Defendants. Plaintiff

was employed in Atlanta, Georgia at the club known as the “Club Wax”

located at 4375 Commerce Drive, SW, Atlanta, GA 30336 . Plaintiff Hayes

was employed at Club Wax from approximately November, 2009 through

November 2011. Plaintiff is a resident within the Northern District of

Georgia.

                                         7.

      Defendant Club Wax, LLC. is a Georgia limited liability company

with its principal place of business located at 4375 Commerce Drive, SW,


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Atlanta, GA 30336. Defendant is the owner of Club Wax. Defendant Club

Wax, LLC. is a resident within the Northern District of Georgia. Defendant

may be served with a copy of the summons and complaint by leaving a copy

with its registered agent for service Mr. Edward Gilgor, Esq. located at 4213

Fellowship Road, Suite C, Tucker Georgia, 30084.

                                       8.

      Defendant Mr. Thomas Waters is a natural person and beneficial

owner of Club Wax. Defendant Waters directs the day-to-day operations at

Club Wax. On information and belief Defendant Waters is a resident within

the Northern District of Georgia. Defendant Waters may be served with a

copy of the summons and complaint at 4375 Commerce Drive, SW, Atlanta,

GA 30336.

           SUBJECT MATTER JURISDICTIO A D VE UE

                                       9.

      This Court has subject matter jurisdiction over federal questions

raised under the FLSA pursuant to 28 U.S.C.S. §§ 1331 and 1337.

                                       10.

      Venue is proper in the Northern District of Georgia, under 28 U.S.C.

§1391(b), since Defendants are a citizen in this judicial district. In addition,

a substantial part of the events or omissions giving rise to the claims


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occurred in this judicial district at the address commonly known as 4375

Commerce Drive, SW, Atlanta, GA 30336 located within the Northern

District of Georgia.

                        FACTUAL ALLEGATIO S

                                        11.

      Plaintiff, on behalf of herself and all other similarly situated current

and former employees, brings this Collective Action against Defendants

under the Fair Labor Standards Act, 29 U.S.C. § 201, et. seq. (“FLSA”) for

failure to pay minimum wage and overtime compensation.

                                        12.

      At all times for the three years prior to the filing of the Complaint in

this matter, Defendants have employed female entertainers at Club Wax.

                                        13.

      At all times for the three years prior to the filing of the instant

complaint, Defendants have categorized all entertainers working at the

nightclubs as “independent contractors” and failed to pay any wages

whatsoever.

                                        14.

       At all times for the three years prior to the filing of the instant

complaint, Defendants have not required entertainers to have any specialized


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training or background. Defendants have, however: established specific

work schedules for entertainers.

                                      15.

      Defendants have required entertainers to dance at specified times and

in a specified manner on stage and for customers.

                                      16.

      Defendants have regulated entertainers’ attire and interactions with

customers.

                                      17.

      Defendants have set the price entertainers were allowed to charge for

dances.

                                      18.

      Defendants have required entertainers to attend meetings at

Defendants’ business.

                                      19.

      Defendants have financed all advertising and marketing efforts

undertaken on behalf of the club.

                                      20.

      Defendants have made capital investments in the facilities,

maintenance, sound system, lights, food, beverage and inventory.


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                                        21.

      Defendants have required and made all hiring decisions regarding

waitstaff, security, entertainer, managerial and all other employees at the

night clubs.

                                        22.

      Defendants have established a variety of uniform written guidelines

and policies which govern entertainers conduct at all the night clubs

nationwide.

                                        23.

      At all times for the three years prior to the filing of the instant

complaint, Defendants have required entertainers, including Named Plaintiff

and all others similarly situated, to pay a specific amount, often referred to

as a “tip out” or a “bar fee” in order to work on any given shift.

                                        24.

      The specific amount entertainers, including Named Plaintiff, were

required to pay has varied over the last three years, but a single schedule has

been in place for all entertainers at any given time.

                                        25.

      The required bar fee or tip out the Named Plaintiff has paid generally

has been at least $45 for shift.


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                                         26.

      If entertainers are late for work, fail to appear for a scheduled shift, or

are deemed to have violated any of the club’s rules, they are charged

additional fees or fines.

                                         27.

      Named Plaintiff has been subject to a variety of these fees and fines.

                                         28.

      The fees and fines described in ¶¶ 23-27 constitute unlawful

“kickbacks” to the employer within the meaning of the Fair Labor Standards

Act, and Plaintiff and all others similarly situated are entitled to restitution of

all such fees and fines.

                                         29.

      Named Plaintiff worked over forty hours in some weeks each worked

for Defendants.

                                         30.

      Named Plaintiff and all others similarly situated were also required to

attend mandatory meetings at Defendants’ place of business, but were not

paid for their attendance at those meetings.




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                                       31.

      Defendants have never paid Plaintiff and all others similarly situated

any amount as wages whatsoever, and have instead unlawfully required

Plaintiff to pay them for the privilege of working.

                                       32.

      Instead, Plaintiff and all other similarly situated only source of work

related income were gratuities they receive from customers.

                                       33.

      Because Defendants did not pay Plaintiff and all other similarly

situated any wages whatsoever, Defendants did not pay Plaintiff and all

other similarly situated one-and-a-half times their regular rate of pay when

Plaintiff and others similarly situated worked over forty hours in a given

workweek.

                                       34.

      Defendants knew, or showed reckless disregard for the fact that they

misclassified these individuals as independent contractors, and accordingly

failed to pay these individuals the minimum wage and failed to pay overtime

at the required rate under the FLSA.

                                       35.

      Plaintiff and all others similarly situated were not subject to any


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exemption under the FLSA.

                                        36.

      On information and belief Defendants failed to maintain records of the

number of hours worked by Plaintiff and others similarly situated.

                             COU T I
                      DECLARATORY JUDGME T

                                       37.

      Plaintiff repeats and realleges the allegations in the preceding

paragraphs of this Complaint, and incorporate the same herein by this

specific reference as though set forth herein in full.

                                       38.

        This claim is an action for Declaratory Judgment brought pursuant

to the provisions of 28 U.S.C. § 2201 et seq.

                                       39.

        An actual controversy exists between the parties in this case in

regard to the employment status of the Plaintiff and all others similarly

situated.

                                       40.

        Plaintiff and all others similarly situated seek declaratory relief with

respect to the legal relations of the parties arising from this controversy and

their respective rights and responsibilities under the FLSA, to wit, whether
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Plaintiff and all others similarly situated are or were the employees of

Defendants.

                         COU T II
            OVERTIME CLAIMS (Violation of 29 U.S.C. § 207)

                                       41.

      Plaintiff repeats and realleges the allegations in the preceding

paragraphs of this Complaint, and incorporate the same herein by this

specific reference as though set forth herein in full.

                                       42.

      Defendants are or were the “employer” and employ(ed) Plaintiff and

the Collective Action Members as “employees” within the meaning of the

FLSA, 29 U.S.C. § 203(d).

                                       43.

      Defendants are engaged in “commerce” and/or in the production of

“goods” for “commerce.”

                                       44.

      Defendants are an enterprise engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 203(s)(1), because they have employees

engaged in commerce, and because their annual gross volume of sales made

is more than $500,000.



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                                       45.

       Plaintiff consent to sue in this action pursuant to 29 U.S.C. § 216(b).

Written Consents to sue executed by each Plaintiff are submitted herewith.

                                       46.

       Defendants misclassified Plaintiff and all others similarly situated as

an independent contractor.

                                       47.

       Defendants failed to pay Plaintiff and all others similarly situated

wages at a rate of one and one-half (1 ½) times her regular rate, for hours

worked in excess of forty (40) hours per week, in violation of 29 U.S.C. §

207.

                                       48.

       Defendants knowingly, intentionally and willfully violated the FLSA.

                                       49.

       Throughout the relevant period of this lawsuit, there is no evidence

that Defendants’ conduct that gave rise to this action was in good faith and

based on reasonable grounds for believing that their conduct did not violate

the FLSA.

                                       50.

       Due to Defendants’ FLSA violations, Plaintiff and all others similarly


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situated are entitled to recover from Defendant, unpaid overtime

compensation and an equal amount in the form of liquidated damages, as

well as reasonable attorneys’ fees and costs of the action, including interest,

pursuant to 29 U.S.C. § 216(b), all in an amount to be determined at trial.

                    COU T III
  MI IMUM WAGE CLAIM (Claims for Violation of 29 U.S.C. § 206)

                                        51.

      Plaintiff repeats and realleges the allegations in the preceding

paragraphs of this Complaint, and incorporate the same herein by this

specific reference as though set forth herein in full.

                                        52.

      Defendants are or were the “employer” and employs or employed

Plaintiff and all others similarly situated as an “employee” within the

meaning of the FLSA, 29 U.S.C. § 203(d).

                                        53.

      Defendants are engaged in “commerce” and/or in the production of

“goods” for “commerce.”

                                        54.

      Defendants operate an enterprise engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees

engaged in commerce, and because its annual gross volume of sales made is
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more than $500,000.

                                      55.

      Plaintiff consent to sue in this action pursuant to 29 U.S.C. § 216(b).

                                      56.

      A consent to sue executed by each Plaintiff is submitted herewith.

                                      57.

      Defendants misclassified Plaintiff and all others similarly situated as

an independent contractor.

                                      58.

      Defendants failed to pay Plaintiff and all others similarly situated the

minimum wage in violation of 29 U.S.C. § 206 and instead required Plaintiff

to pay Defendants various fees, fines, and other charges.

                                      59.

      Based upon the conduct alleged herein, Defendants knowingly,

intentionally and willfully violated the FLSA by not paying Plaintiff and all

others similarly situated the minimum wage under the FLSA

                                      60.

      Throughout the relevant period of this lawsuit, there is no evidence

that Defendants’ conduct that gave rise to this action was in good faith and

based on reasonable grounds for believing that their conduct did not violate


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the FLSA.

                                       61.

      Due to Defendants’ FLSA violations, Plaintiff and all others similarly

situated are entitled to recover from Defendants all fees, fines and other

charges paid by the Plaintiff to the Defendants, minimum wage

compensation and an equal amount in the form of liquidated damages, as

well as reasonable attorneys’ fees and costs of the action, including interest,

pursuant to 29 U.S.C. § 216(b), all in an amount to be determined at trial.

                        DEMA D FOR JURY TRIAL

                                        62.

      Plaintiff, on behalf of herself and all others similarly situated

individuals, demand a trial by jury on all their claims so triable.

      WHEREFORE, Plaintiff respectfully prays that this Court grant

relief as follows:

      a.     As to Count I issue a declaratory judgment that (i) Plaintiff and

             all others similarly situated are or were the employees and

             Defendants are or were their joint employer and (ii) the

             practices complained of herein are unlawful under the FLSA;




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  b.   As to Count II award Plaintiff and all others similarly situated

       judgment for lost overtime compensation calculated at one and

       one-half times the regular rate that Plaintiff would have

       received but for Defendants unlawful conduct, as well as

       liquidated damages, interest and attorneys’ fees as provided for

       under the FLSA;



  c.   As to Count III award Plaintiff and all others similarly situated

       judgment for wages at the minimum rate, including restitution

       for all fees, fines, and charges paid by the Plaintiff and all

       others similarly situated to the Defendants, liquidated damages,

       interest and attorneys’ fees as provided for under the FLSA;



  d.   Award Plaintiff and all others similarly situated costs of this

       action, including expert fees;



  e.   Grant Plaintiff and all others similarly situated a jury trial on all

       issues so triable;




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  f.   Grant leave to add additional Plaintiff by motion, the filing of

       written consent forms, or any other method approved by the

       Court; and



  g.   Award Plaintiff and all others similarly situated such other and

       further relief as the Court may deem just and proper.



       Respectfully submitted this13th day of January, 2014.



                                        /s/ Harlan S. Miller
                                        Harlan S. Miller, Esq.
                                        Of Counsel
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                 CERTIFICATE OF COMPLIA CE

     This is to certify that the foregoing has been prepared using Times

New Roman 14 point font.

     This 13th day of January, 2014.




                                          /s/ Harlan S. Miller
                                          Harlan S. Miller, III, Esq.
                                          Of Counsel
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                                          75 14th Street, 26th Floor
                                          Atlanta, Georgia 30309




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